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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE
    In re:
                                                                Chapter 11
    YELLOW CORPORATION, et al.,1
                                                                Case No. 23-11069(CTG)

                                                                Re: D.I. 968
                        Debtors.



                  DECLARATION OF GARRETT S. EGGEN IN SUPPORT OF HAWKEY
                     TRANSPORTATION, INC. OBJECTION TO PROPOSED CURE
                       AMOUNT IN NOTICE OF POTENTIAL ASSUMPTION OR
                   ASSUMPTION AND ASSIGNMENT OF CERTAIN CONTRACTS OR
                   LEASES ASSOCIATED WITH THE NON-ROLLING STOCK ASSETS

             I, Garrett S. Eggen, declare as follows:

             1.     I am an attorney at Sussman Shank, LLP and am licensed to practice law in Oregon and

Delaware. I am one of the attorneys for Hawkey Transportation, Inc. (“Hawkey”). I have personal

knowledge of the matters herein and could testify competently thereto, if necessary.

             2.     I submit this Declaration in support of the Hawkey Transportation, Inc. Objection to

Proposed Cure Amount in Notice of Potential Assumption or Assumption and Assignment of Certain

Contracts or Leases Associated with the Non-Rolling Stock Assets (the “Objection”).2

             3.     Attached hereto as Exhibit A is a true and correct copy of my firm’s invoice setting forth

the legal fees incurred to date in the prosecution of the Objection.

             4.     I hereby submit that the itemized fees set forth in Exhibit A hereto were incurred as a result

of the reasonable and necessary actions taken by Hawkey’s counsel to enforce Hawkey’s rights under the

Lease.




1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ proposed
claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’ principal place of business
and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue, Overland Park, Kansas 66211.

2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the Objection.
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        I declare under penalty of perjury that the foregoing is true and correct.


        Executed this 9th day of November, 2023, at Portland, Oregon.

                                              /s/ Garrett S. Eggen
                                              Garrett S. Eggen




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